Case 2:20-cv-12838-LVP-KGA ECF No. 60-1, PageID.979 Filed 07/26/22 Page 1 of 11
Case 2:20-cv-12838-LVP-KGA ECF No. 60-1, PageID.980 Filed 07/26/22 Page 2 of 11
Case 2:20-cv-12838-LVP-KGA ECF No. 60-1, PageID.981 Filed 07/26/22 Page 3 of 11
Case 2:20-cv-12838-LVP-KGA ECF No. 60-1, PageID.982 Filed 07/26/22 Page 4 of 11
Case 2:20-cv-12838-LVP-KGA ECF No. 60-1, PageID.983 Filed 07/26/22 Page 5 of 11
Case 2:20-cv-12838-LVP-KGA ECF No. 60-1, PageID.984 Filed 07/26/22 Page 6 of 11
Case 2:20-cv-12838-LVP-KGA ECF No. 60-1, PageID.985 Filed 07/26/22 Page 7 of 11
Case 2:20-cv-12838-LVP-KGA ECF No. 60-1, PageID.986 Filed 07/26/22 Page 8 of 11
Case 2:20-cv-12838-LVP-KGA ECF No. 60-1, PageID.987 Filed 07/26/22 Page 9 of 11
Case 2:20-cv-12838-LVP-KGA ECF No. 60-1, PageID.988 Filed 07/26/22 Page 10 of 11
Case 2:20-cv-12838-LVP-KGA ECF No. 60-1, PageID.989 Filed 07/26/22 Page 11 of 11
